                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 16-1062
                                      ___________________

                                             Henry E. Lyons

                                                 Plaintiff - Appellee

                                                   v.

                                             Leo E. Morton

                                                        Defendant

                                F. Wayne Vaught; Reginald Bassa

                                   Defendants - Appellants
______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Missouri - Kansas City
                                    (4:13-cv-00897-BP)
______________________________________________________________________________

                                             JUDGMENT


Before LOKEN, MURPHY and MELLOY, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is reversed and the cause is remanded to the district court for proceedings

consistent with the opinion of this court.

                                                          November 22, 2017


Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans



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